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IN THE US. DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Joseph Cilione, et al. *
Plaintiffs *

v. * Case No. RDB 19-cv-00627
Victoria’s Crab House, Inc., et al. *
Defendants *
/

 

JOINT MOTION TO APPROVE SETTLEMENT AGREEMENT
AND CONSENT TO SUPPLEMENTAL JUDGMENT

Plaintiff, Joseph Cilione and James Cilione (collectively, the “Plaintiffs”), together
with Defendants Victoria’s Crab House, Inc., Victoria Emerson, and Ernest Emerson
(collectively, the “Defendants”), jointly move this Court for an Order approving a
Settlement Agreement on attorneys’ fees and costs reached in this Fair Labor Standards
Act (“FLSA”) action, and state as follows:!

1. Defendants, disputing liability in this matter, agreed to consent to judgment
for the sum total of $23,224.72 to avoid the cost and uncertainty of litigation (the
“Judgment’). (ECF Doc. 28).

2, Pursuant to the Court’s October 1, 2019 Order, the Court provided Plaintiffs
a deadline of October 16, 2019 to file any Motion for Attorneys’ Fees and Costs.

3. However, the parties, wishing to avoid the cost and time of litigating
attorneys’ fees and costs, have agreed to settle attorneys’ fees and costs, have agreed to a

compromised settlement of fees and costs in total amount $21,500.00.

 

] Plaintiffs also brought supplemental claims under the Maryland Wage/Hour Law, Md.
Ann, Code § 3-401 et seq. (MWHL”), and the Maryland Wage Payment and Collection Law, Md.
Ann. Code § 3-501 et seq. (“MWPCL”).

 
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4. “[W]here a proposed settlement of FLSA claims includes a provision
regarding attorneys’ fees, the reasonableness of the award must also ‘be independently
assessed, regardless of whether there is any suggestion that a conflict of interest taints the
amount the wronged employee recovers under a settlement agreement.’” Saman v. LBDP,
ZInc., No. DKC~12-1083, 2013 WL 2949047, at *3 (D. Md. June 13, 2013) (quoting Lane
yv, Ko—-Me, LLC, No. DKC—10-2261, 2011 WL 3880427, at *3 (D. Md. Aug. 31, 2011));
see also Kianpour v. Restaurant Zone, Inc., et al., DKC 11-0802, 2011 WL 5375082, *3
(D. Md. Nov. 4, 2011). “In making that assessment, courts typically ‘use the principles of
the traditional lodestar method as a guide.” Lane, 2011 WL 3880427, at *3 (citation
omitted). The lodestar amount is “defined as a reasonable hourly rate multiplied by hours
reasonably expended.” Riveros v. WWK Construction, Inc., No. PIM 15-193, 2015 WL
5897749, at *4 (D. Md. Oct. 5, 2015) (citation omitted).

5. Under the Settlement Agreement, Plaintiff's counsel would receive
$21,500.00 for attorneys’ fees and costs incurred. See Exh. 1. Both parties submit that
attorneys’ fees and costs were negotiated separately and only after a judgment was entered
in this case. Given the full and uncompromised relief to the Plaintiffs as to their minimum
wage and overtime claims, and the fact that fees and costs were negotiated separately and
secondarily to the Plaintiff's personal outcome, judicial scrutiny of the amount of fees and

costs to be paid is likewise not necessary. *

 

2 Ifa motion demonstrates that a proposed fee award was agreed upon separately and without regard
to the amount paid to the Plaintiff, then unless there is reason to believe that the Plaintiff's recovery was
somehow adversely affected by the amount of fees to be paid to the attorney, the Court will approve the
settlement without separately considering the reasonableness of the fee to be paid to Plaintiff's counsel. See
Phelps y. Detail USA, Inc., 2012 WL 254113, at *2 (M.D. Fla. Jan. 19, 2012) (“[W]hen attorney’s fees are
negotiated separately from payment to plaintiff(s), ‘an in depth analysis [of the reasonableness of the fees] is
not necessary unless the unreasonableness is apparent from the face of the documents.’”) (citation omitted),

 
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6. Nevertheless, to the extent that the Court desires to carefully review the
proposed fee and cost award for reasonableness, Plaintiff's counsel submits a Declaration
together with a detailed billing statement. Exh, 2, Exh. 2-A. As detailed in this billing
statement, and after the exercise of billing discretion, Howard B. Hoffman has worked on
Plaintiffs’ claims at the hourly rate of $400.00,7 and has worked 39.3 hours. See id. 4 4.
Scott E. Kraff, an associate attorney employed by Hoffman Employment Law, LLC, who
is an experienced and capable attorney admitted in the State of Maryland, worked on
Plaintiffs’ claims at the hourly rate of $205.00, and has worked 23.2 hours. See Exh. 3.
Gregory B. Herbers, an associate attorney formerly employed by Hoffman Employment
Law, LLC, worked on Plaintiffs’ claims at the hourly rate of $205.00, and has worked 19.1
hours. See Exh. 2. Jordan S. Liew, another associate attorney employed by Hoffman
Employment Law, LLC, worked on Plaintiffs’ claims at the hourly rate of $215.00, and
has worked 12.9 hours. See Exh. 4.

In addition to the above, costs in this case amount to a total of $1,189.02. See Exh.
246. As such, the total amount of attorneys’ fees and expenses incurred by Plaintiffs’
counsel in this litigation as of October 21, 2019 is approximately $27,154.00 in fees and
$1,189.02 in expenses. In light of these figures, the amount of attorneys’ fees and costs

that Plaintiff's counsel would receive under the Agreement is reasonable under the lodestar

 

3 Mr. Hoffman has nineteen years of relevant legal experience. See Exh. 2, {| 9. The requested hourly
rate ~- $400 an hour — falls within the range specified by Appendix B of the Local Rules for the United States
District Court for the District of Maryland and was recently awarded to Hoffman in Jackson et al. v. Egira,
LLC, et al., RDB 14-3114, 2016 WL 5815850 (D. Md. Oct. 5, 2016), where the Court overruled objections
to the claimed hourly rate of $400. Specifically, L.R. Appendix B provides that an attorney who has been
admitted to the bar between fifteen and nineteen years may reasonably charge an hourly rate between $275
and $425 while an attorney who has been admitted to the bar for twenty years or more may reasonably charge
an hourly rate between $300 and $475.

 

 
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evaluation, and in fact represents a reduction and compromise in the amount of attorneys’
fees and costs claimed by counsel.

7. Finally, the parties have agreed upon the payment of attorneys’ fees and
costs will be made within ten (10) days of approval of this Joint Motion and the Settlement
Agreement, or October 30, 2019, whichever date occurs later, and Defendants have agreed
to pay the Judgment to Plaintiffs on October 30, 2019 and withhold and remit payroll
withholdings.

WHEREFORE, the Parties request that this Court approve the proposed
Settlement Agreement and enter a Supplemental Judgment in the amount of $21,500.00 .

Respectfully submitted,

/s/ Howard B. Hoffman
Howard B. Hoffman, Esq. (Bar No. 25965)
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CERTIFICATE OF SERVICE
Thereby certify that on this 23" day of October, 2019, a copy of the foregoing Joint
Motion to Approve Settlement Agreement, along with all Exhibits and other attachments,
was filed via the Electronic Case Filing System (ECF) maintained by the U.S. District
Court for the District of Maryland, and is available for viewing and downloading from the

ECF system.

/sf
Jordan S. Liew

 

   
